
405 N.W.2d 17 (1987)
225 Neb. 340
STATE of Nebraska ex rel. NEBRASKA STATE BAR ASSOCIATION, Relator,
v.
John C. KINNEY, Respondent.
No. 87-352.
Supreme Court of Nebraska.
May 1, 1987.
*18 KRIVOSHA, C.J., and BOSLAUGH, HASTINGS, CAPORALE, SHANAHAN, and GRANT, JJ.
PER CURIAM.
This is an original disciplinary proceeding submitted to this court upon the respondent's voluntary surrender of his license to practice law. Respondent, John C. Kinney, voluntarily surrenders his license and consents to the entry of a disciplinary order against him.
Upon a careful review of the record before us, and based on the respondent's voluntary surrender of his license, his waiver of disciplinary proceedings, and consent to the entry of an order of disbarment against him, we order that the respondent, John C. Kinney, be, and hereby is, disbarred effective May 1, 1987.
JUDGMENT OF DISBARMENT.
